Case: 1:18-Cv-OO703 Document #: 1-5 Filed: 01/30/18 Page 1 of 8 Page|D #:558

EXHIBIT E

 

Case: 1:18-Cv-OO703 Document #: 1-5 Filed: 01/30/18 Page 2 of 8 Page|D #:559

No, 17-01-0161

 

IN THE APPELLATE COURT OF ILLINOIS
FIRST JUDICIAL DIS'I`R_ICT
FROM THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT - LAW DIVISION

PATRICK J. DOHERTY,
Plaintiff, No. 16 L 6379

v. Trial Court Judge:

Hon. Thomas R. Mulroy

WASHINGTON FEDERAL BANK FOR

SAVI`NGS, JOHN GEMBARA, individually and as

President of Washington Federal Bank, JANE TRAN,

and CROWLEY & LAMB,

Date of Final Order: IZ/Z{}/ 16
Notice oprpeai filed: 1/17/17

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DEFENDANTS ~» APPELLEES’ MOTION TO SUBSTITUTE COUNSEL

 

NOW COMES Defendants Appellees John Gembara, Jane Tz'an, and Crowley & Lamb,
P.C (collectively “Defendants”) and moves this Court to grant Plunkett Cooney P.C. leave to file
its substitute appearance on behalf of Defendants, and grant Crowley & Lamb, P.C. leave to
withdraw on behalf of Defendants and defendant Washington Federal Bank for Savings
(“WFB”), and in support thereof states as follows:

l. On or about August ll, 2017 Crowley & Larnb, P.C. filed its appearance on
behalf of Defendants and WFB.

2. On or about October 31, 2017, the law firm of Crowley & Lamb ceased
operations and its attorneys joined the firm of Plunkett Cooney, P.C.

3. Further, on or about December 15, 2017, Defendant WFB was closed by the

FDIC.

Case: 1:18-cv-OO703 Document #: 1-5 Filed: 01/30/18 Page 3 of 8 Page|D #:560

4. Counsel for the FDIC has informed the below signed counsel that the firm of
Grant Law, LLC filed its motion to substitute in as counsel for the FDIC as the receiver for WFB
on January 8, 2018 in this appeal

WHEREFORE, Defendants Appellees John Gembara, Janc Tran, and Crowley & Larnb,
P.C respectfully request this Court grant Plunkett Cooney P.C. leave to file its substitute
appearance on behalf of Defendants Appellees John Gernbara, lane Tran, and Crowley & Lamb,
P.C, grant Crowley & Lamb, P.C. leave to withdraw as counsel for Defendants Appellees John
Gembara, lane Tran, Crowley & Lamb, P.C., and Washington Federal Bank for Savings, and
grant such further relief to which Defendants are entitled.

Dated: January 8, 20I 8. Respecti`ully submitted,

PlunkettCoo ,P.C.
By: %/{/[/j(

One of its Attorneys

J ames M. Crowley

Matthew L. Hendricksen

Plunkett Cooney, P.C.

221 North LaSalle Street, Suite 1550
Chicago, Illinois 60601
312-670_6900

Attorney No.: 61262
rnhendricksen@plunkettcooney.com
jcrowley@plunkettcooney.com

Case: 1:18-cv-OO703 Document #: 1-5 Filed: 01/30/18 Page 4 of 8 Page|D #:561

No. l7-0l-l}l6l

 

IN THE APPELLATE COURT OF ILLINOIS
FIRST JUDICIAL DIS'I`RICT
FROM THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT - LAW DIVISION

PATRICK J. DOHERTY,
Plaintiff, No. 16 L 6379

V- Trial Couz't Judge:

Hon. Thomas R. Mulroy

WASHINGTON FEDERAL BANK FOR

SAVINGS, JOHN GEMBARA, individually and as

President of Washington Federal Bank, JANE TRAN,

and CROWLEY & LAMB,

Date of Final Order: 12/20/ 16
Notice of Appeal tiled: l/ l'f/ 17

\/v\_/\_/\-_/\./\_/\_/\_i

 

AFFIDAVIT OF MATTHEW L. HENDRICKSEN IN SUPPORT OF MOTION TO
SUBSTITUTE

 

I, Matthew L. Hendricksen, hereby certify and attest that:

t. I am an attorney duly licensed to practice law in the State of Illirrois, and am
counsel for certain Defendants-Appellees in the above-captioned matter.

2. I was previously employed as an attorney for Crowley & Lamb, P.C. and am now
employed as an attorney for Plunkett Cooney, P.C.

3. The facts set forth in the attached motion to substitute are true and correct.

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Case: 1:18-cv-OO703 Document #: 1-5 Filed: 01/30/18 Page 5 of 8 Page|D #:562

Dated: January 8, 2018 Respecti`uil bmitt ,
By:
Matthew L. Hendricksen

Subscribed to and sworn before
me this 8th day of.lanuary, 2018

 

_ . _,¢3§ _______.- ____ ....... _ ._._. ._._-
ota ublic ‘ OFF|C|AL SEAL §

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James M. Crowley

Matthew L. Hendricksen
CROWLEY & LAl\/IB, P.C.

221 North LaSalle Street, Suite 1550
Chicago, Illinois 60601
312-670-6900

Attorney No.: 61262
mhendricksen@piunkettcooney.com
jcrowley@plunkettcooney.com

Case: 1:18-cv-OO703 Document #: 1-5 Filed: 01/30/18 Page 6 of 8 Page|D #:563

No. l7-01-016l

 

IN THE APPELLATE COURT OF ILLINOIS
FIRST JUDICIAL DiS'l`RlCT
FROM THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT - LAW DIVISION

PATRICK J. DOHERTY,
Plaintiff, No. 16 L 63 79

Triai Court Judge:

Hon. Thomas R. Mu}roy

V.

WASHINGTON PEDERAL BANK FOR
SAVINGS, JOHN GEMBARA, individually and as
President of Washington F ederal Bank, JANE TRAN,
and CROWLEY & LAMB,

Date of Final Order: 12/20/16
Notice oprpeal iiled: 1/17/17

\.../\\_/\_J\-/\-/\_»/\»_»‘\.J\,/

 

NOTICE OF FlLlNG

 

To: Patrick Doherty
7836 West 103rd Street
Paios Hills, Illinois 60465
Attorneysfor Plaintr`ff-Appellant

Grant Law, LLC

23 0 West Monroe Streef, Sur`te 240
Chicago, IL 60606

Attomeysfor FD]C

PLEASE TAKE NOTICE that on January 8, 2018 the undersigned counsel caused to be
filed with the clerk of the Illinois Appellate Court, First District, Defendants’ Motion to

Substitute, a true and correct copy of which is hereby sw

M{‘l/tthew L. Hendri-cksen

Case: 1:18-cv-OO703 Document #: 1-5 Filed: 01/30/18 Page 7 of 8 Page|D #:564

No.17-01-0161

 

IN fI`HE APPELLATE COURT OF ILLINOIS
FIRST JUDICIAL DISTRICT
FROM THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT - LAW DIVISION

PATRICK J. DOHERTY,
Plaintiff, No. 16 L 6379

v, Trial Court Judge:

Hon. Thomas R. Mulroy

WASHINGTON FEDERAL BANK FOR

SAVINGS, JOHN GEMBARA, individually and as

President of Washington Federal Bank, JANE TRAN,

and CROWLEY & LAMB,

Date of Final Order: 12/20!16
Notice oprpeal filed: 1/17/1?

 

CERTIFICATE OF SERVICE

 

l certify that l caused Defendants’ Motion to Substitute to be served upon:

Patrick Doherty

7836 West 103rd Street

Pafos Hills, Illinois 60465
Attorneysfor Plaintrff~Appel!anI

Grant Law, LLC

230 Wesr Monroe S!reet, Suite 240
Cht`cago, IL 60606

A!lorneysfor FDIC

via USPS by first class mail by depositing same, with proper postage prepaid, into a USPS mail
box at 221 N. LaSaIle Street, Chicago, lL on Janurary 8, 2018, prior to the hour of5:00 P.M.

/%/Lt/M/

Mahhew L. chdricksen

Case: 1:18-cv-OO703 Document #: 1-5 Filed: 01/30/18 Page 8 of 8 Page|D #:565

No.17-01-0161

 

IN THE APPELLATE COURT OF ILLINOIS
FIRST JUDICIAL DISTRICT
FROM THE CIRCUIT COURT OF COOK COUN'I`Y, ILLINOIS
COUNTY DEPARTMENT - LAW DIVISION

PATRICK J. DOHERTY,
Plaintiff, No. 16 L 63?9
v. Trial Court Judge:
Hon. Thomas R. Mulroy
WASHINGTON FEDERAL BANK FOR
SAVINGS, JOHN GEMBARA, individually and as
President of Washington Federal Bank, JANE TRAN,
and CROWLEY & LAMB,

Date of Final Order: 12/20/16
Notice oprpeal iiled: l/17/17

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ORDER

 

This matter coming to be heard on Defendants’ Motion to Substitute, the Court being duly advised in the
premises, l'l` IS HEREBY ORDERED:

1. Defendants’ Motion is [Granted / Denied]

2. Plunkett Cooney P.C. is granted leave to file its substitute appearance on behalf of
Defendants Appeliees John Gembara, Jane Tran, and Crowley & Larnb, P.C, and
Crowley & Larnb, P.C. is granted leave to withdraw as counsel for Defendants Appeilees
John Gembara, lane Tran, Crowley & Lamb, P.C., and Washington Federal Bank for
Savings

ENTER_ED:

Date:

 

 

Jarnes M. Crowley

Matthew L. Hendricksen
CROWLEY & LAMB, P.C.

221 North LaSalle Street, Suite 1550
Chicago, Illinois 60601
312-670~6900
mhendricksen@plunl<ettcooney.com
jcrowley@plunkettcooney.com

